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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

UNITED STATES OF AMERICA AFFIRl\/IATION IN SUPPORT
OF APPLICATION FOR
-v.~ ORDER OF CONTINUANCE
18 Mag. 4090
MOSHE BENENFELD,
Defendant.

State of NeW York )
County of NeW Yorlc : ss.:
Southern District of New York )

Dina McLeod, pursuant to Title 28, United States Code, Section 1746, hereby declares
under penalty of perjury:

l. l am an Assistant United States Attorney in the Office of Preet Bharara, United
States Attorney for the Southern District of New York. l submit this affirmation in support of an
application for an order of continuance of the time Within Which an indictment or information
Would otherwise have to be filed, pursuant to 18 U.S.C. § 3 l 61(}1)(7)(A).

2. The defendant Was charged in a complaint dated May 14, 2018, and Was arrested
on May 16, 2018. On date of his an'est, the defendant Was presented before U.S. Magistrate Judge
Barbara C. Moses, and released on bail.

3. Under the Speedy Trial Act, the Government has until June l5, 2018, Within Which
to file an indictment or information

4. Ephrairn Savitt, Esq., counsel for the defendant, and l have had discussions

regarding possible dispositions of this case. The negotiations have not been completed and We

 

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plan to continue our discussions, but do not anticipate a resolution before the deadiine under the
Speedy Trial Act expires on June 15, 20l 8.

5. Therefore, the Governrnent is requesting a 30-day continuance until July 16, 2018,
to continue the foregoing discussions and reach a disposition of this matter Defense counsel has
specifically consented to this request.

6. For the reasons stated above, the ends of justice served by the granting of the
requested continuance outweigh the best interests of the public and defendant in a speedy triai.

Dated: New York, NeW Yorl<;
June 14, 2018

    

Dina lyichde
Assistant United States Attorney
(2]2) 637-1040

 

